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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             NORTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,

v.                                             Case No: 08-CR-20241-2


MARY MITCHELL,

             Defendant.
                                         /

                     ORDER DENYING WITHOUT PREJUDICE
                MOTION FOR NOTICE REGARDING 404(b) EVIDENCE

      Defendant Mary Mitchell has filed the above-captioned motion but has failed to

indicate whether or not the contemplated relief would be agreed to by the Government.

      Eastern District of Michigan Local Rule 7.1(a) states as follows:

      (1) The movant must ascertain whether the contemplated motion will be
      opposed. If the movant obtains concurrence, the parties may make the
      subject matter of the contemplated motion a matter of record by stipulated
      order.

      (2) If concurrence is not obtained, the motion must state:

             (A) there was a conference between the attorneys or
             unrepresented parties in which the movant explained the
             nature of the motion and its legal basis and requested but
             did not obtain concurrence in the relief sought; or

             (B) despite reasonable efforts specified in the motion, the
             movant was unable to conduct a conference.

      (3) The court may tax costs for unreasonable withholding of consent.

      The Rule plainly requires that the movant make clear that it has conducted the

required pre-filing conference in which the nature of the contemplated motion was

explained or, in the alternative, what unsuccessful efforts were made to engage in such

a conference.
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           No exception is made for criminal cases. If the Government were to agree, the

motion would be mooted. The court discourages motion practice that may be

unnecessary and wasteful of court and attorney time. Accordingly,

           IT IS ORDERED that the Defendant’s Motion for Disclosure of Brady Materials

[Dkt. # 38] is DENIED WITHOUT PREJUDICE.1



                                                                   s/Robert H. Cleland
                                                                   ROBERT H. CLELAND
                                                                   UNITED STATES DISTRICT JUDGE

Dated: August 6, 2008


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, August 6, 2008, by electronic and/or ordinary mail.


                                                                   s/Lisa G. Wagner
                                                                   Case Manager and Deputy Clerk
                                                                   (313) 234-5522




           1
       Defendant correctly recites Rule 404(b) as stating that “. . . upon request by the
accused, the prosecution . . . shall provide reasonable notice in advance of trial . . . of
the general nature of any such evidence it intends to introduce at trial” (emphasis
added). Because there is no indication that Defendant has made any such request to
the Government, a motion such as the one at hand is unnecessary and premature.
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